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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov

 In re:    Guillermo Valdes, Jr.                        Case No.: 23-14458-RAM-
           Jessica Lyn Valdes                           Chapter 13

                        Debtor(s)               /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

Claim                                                         Amount of
No.              Name of Claimant                             Claim

9                Merrick Bank/CCHoldings                      $4,139.00

Basis for Objection and Recommended Disposition

On or about June 27, 2023, Creditor filed a general unsecured proof of claim in the amount of
$4,139.00 for a Credit Card account ending in 5352. This claim is barred by the statute of
limitations. Debtors request this claim be stricken and disallowed.

Claim                                                         Amount of
No.              Name of Claimant                             Claim

10               Merrick Bank/CCHoldings                      $1,444.77

Basis for Objection and Recommended Disposition

On or about June 27, 2023, Creditor filed a general unsecured proof of claim in the amount of
$1,444.77 for a Credit Card account ending in 0413. This claim is barred by the statute of
limitations. Debtors request this claim be stricken and disallowed.




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The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 days prior to the confirmation hearing date and
that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the court when
the objection and notice of hearing are served.

DATED: August 23, 2023

                                      Respectfully Submitted:
                                      JOSE A. BLANCO, P.A.
                                      By: /s/ Jose A. Blanco |        FBN: 062449
                                      Attorney for Debtor(s)
                                      102 E 49th ST
                                      Hialeah, FL 33013
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